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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION



CESIUMASTRO, INC.,
                                                                Case No. 1:24-cv-00314-RP
       Plaintiff,

               v.

ERIK LUTHER and ANYSIGNAL, INC.,

       Defendants.


                           NOTICE CONCERNING REFERENCE TO
                           UNITED STATES MAGISTRATE JUDGE

       In accordance with the provisions of 28 U.S.C. § 636(c), Federal Rule of Civil Procedure 73,
and the Local Rules of the United States District Court for the Western District of Texas, the following

party CesiumAstro, Inc.

through counsel Kristin C. Cope

       ___ consents to having a United States Magistrate Judge preside over the trial in this case.

       ___ declines to consent to trial before a United States Magistrate Judge.
      xxx



                                              Respectfully submitted,

                                              /s/ Kristin C. Cope

                                              Attorney for: CesiumAstro, Inc.




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